- Case: 1:19-cv-00071-SNLJ Doc. #: 53-1 Filed: 02/26/21 Page: 1 of 1 PagelD #: 587

   
   
  
 
 

Carters County Sheriff's
P.0. Box 817
Van Buren, MO 63965
Phone # (573)323-4510 ~ Fax # (573)3234182 ©

 

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Statement Started aime) sex? Completed at J5J2. Date 2 ae -
Phone Number( $73 ) GGea-35 32

 

 

 

 

 

 

 

 

 

 

 

 

 

This Statement is True and Accurate to the best of my knowledge therefore by signing

my Up £2 responsibility thereof:
Signature of n making statement Page | of Pages

Deputy taking Statement

 

 

PLAINTIFF’S
j EXHIBIT

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